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                          8    Attorneys/or Defendant Laylow
                               Films, The Walt Disney Company,
                           9   Hearst Communications, ESPN and
                               Houlihan Film Music.
                          10

                          11                               UNITED STATES DISTRICT COURT
                                                                DISTRICT OF NEVADA
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                          14                         Plaintiff,
...,Jfilit:.E
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>        Vl    �
                          15                                                        STIPULATION AND ORDER
;::) .5        l.l.   �

0 ··�                                 V.                                            DISMISSING CERTAIN
u � ��                    16                                                        DEFENDANTS
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     r,;i $                    WALT DISNEY COMPANY; HEARST
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� ·ro �                   ]7   COMMUNJCATIONS, INC., ESPN, INC.,
z,..;                          LAYLOW FILMS, INC.; HOULIHAN
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                               FILM MUSIC [NC., BURGESS L.
                          19   GARDNER d/b/a MERYE-EARL MUSIC;
�
                               and JOHN DOE AND MARY ROE,
                          20
                                                     Defendants.
                          21
                          22
                          23          IT IS HEREBY STIPULATED AND AGREED, between and among Plaintiff General

                          24   Crook ("Plaintiff'); and the undersigned counsel for Defendants The Walt Disney Company

                          25   ("Disney"), Hearst Communications, Inc. ("Hearst"), ESPN, Inc. ("ESPN"), Laylow Films, Inc.
                          26
                               ("LFI"), and Houlihan Film Music, Inc. ("Houlihan") that the foregoing parties have executed a
                          27
                               confidential settlement agreement and that all claims asserted by Plaintiff against each of Disney,
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                          Case 2:18-cv-00828-JCM-CWH Document 16
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                              Hearst, ESPN, LFI, and Houlihan in the above-captioned action are to be dismissed with

                          2   prejudice, pursuant to Fed. R. Civ. P. 4J(a)(l)(A)(i1), each party to bear its own costs. For the
                          3
                              avoidance ofdoubt, the undersigned agree that this stipulation shall have no effect whatsoever on
                          4
                              Plaintiffs claims against Defendant Burgess L. Gardiner d/b/a Merye-Earl Music.
                          5
                              Dated: August f 12018
                          6



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                              PLAINTIFF GENERAL CROOK
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                          9   4319 Bucking Bronco Road
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                         10   Tel: 702-725-1420
                         11   W orldcom13@centurylink.net
u                        12   Dated: Augustf.� 2018                              Dated: August_, 2018
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                                                                                 KENNEDY & COUVILLIER, PLLC
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-      > .. u                                                                           /s/ Todd E. Kennedy
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       Cf)    f_                                                                 tkennedy@kcJawnv.com
                         19   Attorneys for Defendants Laylow Films, inc.
�
                              and Houlihan Film Music, Inc.                      Attorneys/or Defendants Lay/ow Films, Inc.,
                         20                                                      Houlihan Film Music, Inc., The Walt Disney
                                                                                 Company, ESPN, Inc., and Hearst
                         21                                                      Communications, Inc.
                         22
                                                                            IT IS SO ORDERED.
                         23

                         24

                         25                                                 UNITED STATES DISTRICT JUDGE
                         26                                                            August 31, 2018
                                                                            DATED: -----------
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